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              IN THE UNITED STATES COURT OF APPEALS

                          FOR THE FIFTH CIRCUIT



UNITED STATES OF AMERICA,                       C.A. No. 18-30694

            Plaintiff-Appellee,                 D.C. No. 5:11-CR-00062-21
      vs.                                       (W.D. Louisiana, Judge Hicks)


ROBERT CUFF

            Defendant-Appellant.



MOTION FOR RECONSIDERATION BY THE PANEL OF THE CIRCUIT
  JUDGE’S ORDER DENYING A MOTION FOR CERTIFICATE OF
                    APPEALABILTY



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      Pursuant to Rule 27.2 of this Court, the defendant-Appellant Robert Cuff

through undersigned counsel, Michael R. Levine, moves the Court to reconsider

the order of the Honorable James L. Dennis which denied Mr. Cuff’s motion for a

Certificate of Appealability (COA). (Exhibit A). Reconsideration is warranted

because Judge Dennis made errors of fact and law in his order. The government

does not object to this motion.

                   PROCEDURAL BACKGROUND

1.    On December 1, 2011, in the Western District of Louisiana, Robert Cuff

(Cuff) pleaded guilty to the crime of engaging in a child exploitation enterprise in

violation of 18 U.S.C. § 2252A (g). On July 13, 2012, after a hearing, the district

court (Judge Maurice Hicks) denied Cuff’s motion to withdraw his plea of guilty

and sentenced him to a term of life imprisonment, which he is currently serving.

This Court affirmed his conviction on direct appeal. United States v. Cuff, No. 12–

30765, 538 Fed.Appx. 411 (2013). His petition for certiorari to the Supreme Court

was denied on December 9, 2013.

2.    On December 6, 2014, Cuff filed a motion under 28 U.S.C. § 2255 to vacate

his conviction and sentence. (Exhibit B). He presented four claims: first, that the

government had breached the plea agreement by secretly indicting him in Texas,

when it had promised not to do so; second, that his trial attorney, Stephen Karns,

was ineffective in failing to request a competency hearing before sentencing; third,


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that the Karns was ineffective in failing to investigate the defenses of involuntary

intoxication, diminished capacity, or insanity; and fourth, that trial counsel failed

to properly investigate the case. Id.

3.    On December 15, 2014, Cuff filed an amended 2255 motion raising three

additional claims. (Exhibit C)

4.     Almost four year later, on March 12, 2018, the district court denied the

2255 motion. (Exhibit D). The court also denied a COA. Id.

5.    On April 9, 2018, Cuff filed a motion with Judge Hicks under F.R.Civ. Pr.

59 (e) to reconsider the judgment that denied the 2255 motion. (Exhibit E). He

filed a memorandum and exhibits in support of that motion on the same date.

(Exhibit F). He also filed supplemental exhibits. (Exhibit G). Judge Hicks denied

this motion on April 12, 2019. (Exhibit H).

6.    On June 1, 2018, Cuff filed a notice of appeal from the district court’s denial

of his 2255 motion and from the denial of his Rule 59(e) motion. (Exhibit I).

7. On September 30, 2018, Cuff filed a motion for a COA with this Court (Exhibit

J) and a brief in support of the motion. (Exhibit K).

8. On November 5, 2018, Cuff filed a motion to file a corrected brief in support of

the motion for a COA. (Exhibit L). On January 11, 2019, he filed a motion to file

a supplemental brief in support of the motion for a COA. (Exhibit M).




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9. On May 10, 2019, the Honorable James L. Dennis of this Court issued an order

denying the motion for a COA and the other motions. (Exhibit A). He reasoned

that Cuff’s Rule 59 (e) motion constituted a successive habeas petition which had

not first been authorized by this Court. Therefore, the Rule 59 motion did not

extend the time to appeal from the district court’s denial of the 2255 motion.

10. On May 14, 2019, undersigned counsel communicated with Assistant United

States Attorney Mignonne Griffing, and she stated that the Government has no

objection to this motion.

                              ARGUMENT

      Relying on Gonzales v. Crosby, 545 U.S. 524 (2005), and Williams v.

Thaler, 602 F.3d 291 (5th Cir. 2010), Circuit Judge Dennis held that Cuff’s timely

Rule 59 (e) motion to reconsider the judgment of the district court constituted a

successive 2255 motion because the motion “attacked” the district court’s rulings

on the merits of the claims. Because Cuff had no authorization from this Court to

file a successive petition, the motion did not serve to extend the time for filing the

notice of appeal from the district court’s denial of the 2255 motion. Thus, the

notice of appeal was untimely, and this Court lacks jurisdiction to hear Cuff’s

appeal. As a result, the motion for a COA was denied.

      The panel should reconsider Judge Dennis’ decision for three reasons. First,

Cuff’s motion was “properly filed” and tolled the time to file a notice of appeal


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from the denial of the 2255 motion. Second, Cuff’s Rule 59 (e) motion was not a

successive 2255 petition. Third, Judge Dennis failed to analyze the issue separately

with respect to each of the four claims raised in the Rule 59 motion and in the

motion for a COA.

      1. Cuff justifiably relied on the operation of F.R. App. Pr.
      4(a)(4)(A)(iv) and on the actions of the district court.

      The Federal Rules of Appellate Procedure provide that a timely and properly

filed Rule 59 motion tolls the time within which to file a notice of appeal from the

district court’s denial of a Section 2255 motion until the motion is decided. F.R.

App. Pr. 4(a)(4)(A)(iv). A motion is properly filed “when its delivery and

acceptance are in compliance with the applicable laws and rules governing filings.”

Artuz v. Bennett, 531 U.S. 4, 8 (2000). Cuff properly and timely filed his Rule 59

motion. Whether a motion is "properly filed" is not a determination that is made

on the substantive grounds set forth in the motion. The Rule 59 motion was

"properly filed" even if it were treated as a second, successive 2255

motion. Therefore, the time to appeal from the denial of the 2255 was tolled, and

Cuff’s notice of appeal was timely filed.

      Furthermore, the district court did not consider Cuff’s Rule 59 motion as a

successive habeas petition. Had the court indicated it would do so, Cuff would

have withdrawn the motion and simply filed his notice of appeal from the denial of

the 2255 motion. Cuff justifiably relied on the applicable rule of appellate

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procedure and on the actions of the district court. Cf. White v. Estelle, 566 F.2d

500, 504 (5th Cir. 1978) (“We hold that on the facts and circumstances of this case,

the continuation of White's trial resulted in manifest injustice because of his

attorney's justifiable reliance on court actions which led him to believe that a

wholly different case would be tried.”).

      Cuff is serving a sentence of life imprisonment. Cuff’s unmistakable

intention was to appeal from the denial of his 2255 motion. Had had it been clear

from the jurisprudence that the filing of a 59(e) motion would be treated as a

successive 2255 petition by this Court, Cuff would have abandoned or withdrawn

the motion in the district court and would have simply filed his notice of appeal

from the denial of the 2255 motion. Because Cuff justifiably relied on the

applicable law and on the actions of the district court, and because the Government

has no objection, the Court should reconsider the order of Judge Dennis.

      2. Gonzalez and Williams do not hold that a Rule 59 (e) motion necessarily
      constitutes a successive habeas petition.

     In Gonzales, the petitioner alleged in his Rule 60(b) motion that the district

court had misapplied the federally created statute of limitations for filing a federal

petition of habeas corpus. The lower courts held that this motion constituted a

successive habeas petition and was therefore barred. 545 U.S. at 528. The

Supreme Court reversed. The Court reasoned that because “petitioner's Rule 60(b)

motion challenged only the District Court's previous ruling on the AEDPA statute

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of limitations, it is not the equivalent of a successive habeas petition.” 545 U.S. at

535-36. At issue in Gonzales was a motion under Rule 60 (b), not a motion under

Rule 59 (e). Although both rules request a change in the judgment, the two rules

“serve different purposes and produce different consequences, both substantive and

procedural.” Jennings v. Rivers, 394 F.3d 850, 854 (10th Cir. 2005). In dictum,

Gonzales did state that any post judgment motion that “attacked” the judgment by

raising a new claim or presenting new evidence could constitute a successive

petition. 545 U.S. at 532-533.

       In Williams the petitioner filed a Rule 59 (e) motion raising, for the first

time, a new claim of “actual innocence” based on the discovery of new evidence.

Williams, 602 F.3d at 298-99. At issue was whether this claim was a successive

petition and therefore barred. This Court recognized that in practice Rules 59(e)

and 60(b) permit the same ultimate relief—a change in the judgment. Williams,

602 F.3d at 303. As a result, the Court reasoned it would apply the Gonzalez

framework “to determine whether [the court] should construe” a motion under

either rule as a successive habeas petition. Id.

      The Court held that because petitioner’s motion sought to add a new ground

for relief, i.e., “actual innocence,” petitioner’s motion was a successive 2255

petition and thus barred by the AEDPA because the Circuit had not authorized its

filing. Tellingly, the Court did not hold that a Rule 59 (e) motion always


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constitutes a subsequent 2255 motion. On the contrary, the Court held that

petitioner’s Rule 59 (e) motion that sought to convince the district court that he had

shown “cause and prejudice” to excuse a procedural default was not a successive

petition. Williams, 602 F.3d at 305 (“We thus hold that we have jurisdiction to

consider Williams's request for a COA on the district court's refusal to excuse his

procedural default or to grant a stay and abeyance.”).

      Like this Court, the Fourth, Eighth, and Tenth Circuits have applied the

Gonzales dictum to Rule 59 (e) motions. However the Third, Sixth, and Seventh

Circuits have not. They hold that a Rule 59 (e) motion should never be construed

as a second or successive habeas petition. See Blystone v. Horn, 664 F.3d 397 (3rd

Cir. 2011) (“[W]e, nonetheless, disagree with the Court of Appeals for the Fifth

Circuit's holding because we do not believe that the differences between Rules

60(b) and 59(e) are merely technical …we now join the Court of Appeals for the

Sixth Circuit in holding that a timely Rule 59(e) motion to amend or alter a

judgment is not a second or successive petition, whether or not it advances a

claim.”); Howard v. United States, 533 F.3d 472, 475 (6th Cir. 2008) (“If the

holding of Gonzalez applied to Rule 59(e) motions, it would almost always be

effectively impossible for a district court to correct flaws in its reasoning, even

when the problems were immediately pointed out and could easily be fixed by that

court.”); Curry v. United States, 307 F.3d 664, 665 (7th Cir. 2002) (“A Rule 59(e)


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motion [unlike a Rule 60 (b) motion] … suspends the time for appealing. Since

such a motion does not seek collateral relief, it is not subject to the statutory

limitations on such relief.”).

.     The Ninth Circuit also differs with this Court’s dictum. In Rishon v.

Ferguson, 822 F.3d 482, (9th Cir 2016), the court held that Gonzalez applies to

Rule 59(e) motions “only when the motion raises entirely new claims.” Id. at 493

(emphasis in original). The court reasoned that it saw “no sign that Congress

intended AEDPA to vitiate the district court's power to rectify its own mistakes in

the period immediately following the entry of judgment, obviating the time and

expense of unnecessary appellate proceedings, ”Id. (quoting White v. N.H. Dep't of

Emp't Sec., 455 U.S. 445, 450 (1982)).

      Undersigned counsel has found no case from this Court holding that a Rule

59 (e) motion was a successive petition simply where it asked the district court to

change its mind on an existing claim by presenting cases or evidence that was

overlooked by the district court.


      3.    Breach of the plea agreement was not a new claim, and the Rule 59
      motion related only to the procedural issue of “cause and prejudice.”

      In the first claim of his Section 2255 motion, Cuff asserted that the

government had breached the Louisiana plea agreement by secretly indicting Cuff

in Texas. Exhibit C at p. 5. As part of the Louisiana plea agreement, the


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Government promised not to bring any other prosecution against Mr. Cuff “for any

offense known to the United States Attorney’s Office, based on the investigation

which form the basis of the Second Superseding Indictment.” Exhibit C.1 at pages

1-2.

       In his opinion Judge Hicks held that he would not reach the merits of this

claim because, according to the court, Cuff could not show “cause and prejudice”

for failing to raise the claim on direct appeal. Exhibit D at 7-8. At the same time,

the court acknowledged that Cuff’s trial counsel, Mr. Stephen Karns, stated in a

declaration that he knew nothing about the Texas indictment during the

proceedings in district court. Exhibit D at p. 8. Karns also stated in his declaration

that that he had such knowledge, he never would have advised Cuff to plead guilty,

and that he believed the government had breached the plea agreement. (Exhibit

D.1). Judge Hicks held that Cuff’s appellate counsel should have presented the

Karns declaration to this Court on direct appeal. Exhibit D at p. 8.

       In his Rule 59 (e) motion to reconsider, Cuff pointed out that he did have

cause for not raising the issue of breach of the plea bargain on direct appeal. He

argued that he could not raise the issue on direct appeal because in the district court

the defense did not know about the Texas indictment (which had been deliberately

sealed by the government) and was therefore not aware that the breach had

occurred. For this reason, no evidence of such a breach was introduced in the


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district court. Cuff conceded that by the time of the direct appeal, appellate

counsel knew about the Texas indictment; however, Cuff pointed out to the district

court that this Court reviews errors only “based on the record before the district

court,” citing United States v. Ceron, 775 F.3d 222, 226 (5th Cir. 2014). Exhibit F

at pages 21-24. Cuff argued that a party could not introduce evidence in the court

of appeals that was not first raised in the district court, citing Galbraith v. United

States, 313 F.3d 1001, 1007 (7th Cir. 2002) (“[a] reviewing court on direct appeal

is limited to the record of trial and cannot consider any extrinsic evidence.”). Id.

Thus, Cuff argued that his appellate counsel on direct review had good cause not to

raise breach of the plea agreement on direct appeal because there were no facts in

the record of the district court to support the claim. Id. Moreover, Cuff argued,

the prejudice from his failure to do so was likewise clear: He was prejudiced in

having lost the opportunity to obtain a ruling on the merits of the claim. Id. For

this reason, Cuff asked the district court to change its mind and to alter or amend

its judgement with respect to this issue. Id.

      In asking the district court to reconsider his previous ruling, Cuff was not

raising a new claim: the claim that the government had breached the plea

agreement already existed as the very first claim for relief in the 2255 motion. In

his Rule 59 motion, he only asked the court to reconsider its decision in light of

factual matters and legal principles governing procedural default that the court


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overlooked. Moreover, the motion to reconsider was raising the same procedural

issue relating to “cause and prejudice” and procedural default that was raised in

Williams, which this Court held did not constitute a successive petition; see also

Uranga v. Davis, 893 F.3d 282, 284 (5th Cir. 2018) (“we should not treat a post

judgment motion as a successive § 2254 application when the motion asserts that a

previous ruling which precluded a merits determination was in error—for example,

a denial for such reasons as… procedural default…. or when the motion attacks ...

some defect in the integrity of the federal habeas proceedings.”) (citations omitted,

emphasis added).


        In sum, this Court should reconsider Judge Dennis’s order and grant a COA

on this claim.


      4. That Cuff’s trial attorney was ineffective in failing to request a
      competency hearing before sentencing was not a new claim, and the Rule 59
      motion did not “attack” the opinion of Judge Hicks.

      In his Rule 59 motion, Cuff asked Judge Hicks to reconsider his decision on

petitioner’s claim that trial counsel was ineffective in failing to move for a

competency hearing before sentencing. The motion did not raise a new claim; it

was an existing claim (Ground Two) in his 2255 motion. Exhibit C at p. 6. Even

assuming that the Court applies the dictum of Gonzales and Williams—that a Rule

59 motion that attacks the merits of a holding constitutes a successive petition--



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Cuff did not “attack” the ruling of Judge Hicks. He merely presented additional

law and evidence to Judge Hicks that he may have overlooked.

      For example, in finding that Cuff was competent to be sentenced, Judge

Hicks relied on the opinion of trial counsel Karns at the time of the guilty plea that

Cuff was competent to proceed. Exhibit D at page 11. In his Rule 59 motion, Cuff

reminded Judge Hicks of this Court’s observation in Bouchillon v. Collins, 907

F.2d 589, 593–94 (5th Cir. 1990) that lawyers have no special ability to diagnose

mental illnesses and that “the existence of even a severe psychiatric defect is not

always apparent to laymen.” Cuff also cited Maxwell v. Roe, 606 F.3d 561, 574

(9th Cir. 2010), for the proposition that “although…defense counsel will often have

the best-informed view of the defendant’s ability to participate in his defense…

counsel is not a trained mental health professional and his failure to raise

petitioner’s competence does not establish that petitioner was competent.”

      Cuff also pointed to evidence in the record (2255 motion, Exhibit 2 under

seal, ROA.18-30694.579.) that on August 29, 2014, Dr. Byron Herbel, a Board

Certified Psychiatrist with the Bureau of Prisons, had determined that Cuff was

incompetent to proceed with the case in the Western District of Texas, 11 CR

3016-KC. Dr. Herbel wrote that “Mr. Cuff is suffering from a mental disease or

defect rendering him mentally incompetent to the extent he is unable to understand

the nature and consequence of the proceedings filed against him or assist properly


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in his own defense.” Among his other findings, Dr. Herbel diagnosed Cuff as

suffering from “Major Neurocognitive Disorder Due To Multiple Etiologies—

severe chronic alcohol use, plausible limbic neurotoxicity from past mefloquine

exposure, and past traumatic brain injury (Provisional) and also from Mefloquine-

Induced Psychotic Disorder (Provisional).” Cuff pointed out that Judge Hicks’

opinion made no mention of this report from the BOP. Cuff argued that if he was

incompetent on August 29, 2014, suffering in large part from the effects of

mefloquine, he very likely was just as incompetent in July of 2012, before

sentencing took place.

       This Court has never held that a Rule 59 (e) motion that asks the district

court to reconsider its judgment in light of legal precedent and evidence that the

court may have overlooked constitutes a successive habeas petition. Therefore the

Court should reconsider the opinion of Judge Dennis and should grant a COA on

this issue.

       It is true that in the motion Cuff also presented the district court with new

evidence that confirmed the devastating effects of Cuff’s use of mefloquine. For

example, as his Exhibit 12 to his motion, he presented a report of January 9, 2018,

from Dr. Vyneda Smith of the BOP Health Services which diagnosed Cuff as

suffering from Psychosis (both visual and auditory hallucinations), Schizophrenia,

and “Mefloquine brain disorder.” Id. at page 12 (emphasis added). He also


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presented Cuff’s official Navy records (Exhibit 4) containing the conclusions of

Dr. Remington Nevin that Cuff’s symptoms were “highly suspicious for a deep

brain or brainstem seizure” and provided “further support for the diagnosis of

neurotoxic injury from his earlier use of mefloquine.” Id.

       This Court can excise or disregard the “new evidence” presented in the Rule

59 motion. Assuming the Court does so, the Rule 59 motion then presents only

case law and evidence already in the record that the district court may have

overlooked. As stated above, this Court has never held that such a motion

constitutes a successive habeas petition

       In sum, this Court should reconsider the order of Judge Dennis and grant a

COA with respect to this claim.

      5. That Cuff’s trial attorney was ineffective in failing to investigate the
      defenses of involuntary intoxication, diminished capacity, or insanity was
      not a new claim, and the Rule 59 motion did not “attack” the ruling of
      Judge Hicks.

   In his Rule 59 motion Cuff asked Judge Hicks to reconsider the denial of

Cuff’s claim in his 2255 motion that trial counsel was ineffective in failing to

investigate available mental defenses including involuntary intoxication,

diminished capacity, and insanity. Cuff asked Judge Hicks to reconsider his denial

of the claim in light of the same evidence presented in paragraph 4 above. For the

same reasons set forth in that argument, the Court should reconsider the order of

Judge Dennis order and should grant a COA with respect to this claim.

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      6. Asking judge Hicks to reconsider his denial of a COA was not a new
      claim.

      In his opinion Judge Hicks denied a COA as to each claim, holding that Cuff

had failed to demonstrate a substantial showing of the denial of a constitutional

right. Exhibit D at p. 18. In his Rule 59(e) motion, Cuff sought to persuade the

district court to change its mind with respect to the issuance of a COA on one or

more of the claims. Cuff brought to the court’s attention that the Supreme Court

has counseled that “a court of appeals should not decline the application for a COA

merely because it believes the applicant will not demonstrate an entitlement to

relief,” quoting Miller-El v. Cockrell, 537 U.S. 322, 337 (2003). Exhibit E at

pages 24-26. Cuff also cited the holding of Slack v. McDaniel, 529 U.S. 473, 479

(2000), that a COA should issue if “jurists of reason would find it debatable

whether the petition states a valid claim of the denial of a constitutional right.” Id.

He also cited Miller-El for the proposition that a habeas petitioner need not “prove,

before the issuance of a COA, that some jurists would grant the petition for habeas

corpus” and that “a claim can be debatable even though every jurist of reason

might agree, after the COA has been granted and the case has received full

consideration, that petitioner will not prevail.” 537 U.S. at 338. Id.

      Finally, Cuff brought to the district court’s attention that recently the

Supreme Court had reversed this Court’s denial of a COA, emphasizing that “a

claim can be debatable even though every jurist of reason might agree, after the

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COA has been granted and the case has received full consideration, that petitioner

will not prevail.” Buck v. Davis, 137 S.Ct. 759, 774 (2017). Exhibit at E at p. 25.

            In making the forgoing argument to the district court, Mr. Cuff was not

making a new claim. This was not a claim at all. In Gonzalez, the Supreme Court

stated that “[w]hen no claim is presented, there is no basis for contending that the

Rule 60(b) motion should be treated like a habeas corpus application.” Gonzalez,

545 U.S. at 533. The same is true for this argument in Cuff’s Rule 59 (e) motion.

Cuff sought merely to have the court reconsider its decision to deny a COA in light

of legal principles that the district court may have overlooked. This was the kind

of procedural argument that this Court in Williams held was not a successive claim.

In sum, the Court should grant a COA on the issue whether Judge Hicks erred in

not granting a COA on each of the claims.

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                             CONCLUSION

      For the foregoing reasons, and because the Government has no objection, the

Court should reconsider the order of Judge Dennis. The Court should grant a COA

on each of the issues contained in the motion for a COA. Alternatively, the Court

should grant a COA, at the very least, on the claim asserting breach of the plea

agreement.


                                       Respectfully Submitted:


                                       /s/ Michael R. Levine
                                           Michael R. Levine




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                   CERTIFICATE OF COMPLIANCE


I certify that the attached motion complies with the type setting and page limitation
of the rules. The pleading is in “14” type and contains 4,114 words.

/s/ Michael R. Levine
Michael R. Levine




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                         CERTIFICATE OF SERVICE

I, Michael R. Levine, hereby certify that on May 22, 2019, I caused to be served
the original “Motion For Reconsideration By The Panel Of The Circuit Judge’s
Order Denying A Motion For Certificate Of Appealabilty” by ECF on Assistant
United States Attorney Mignonne Griffing.


                                      /s/ Michael R. Levine
                                      Michael R. Levine




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